     Case 2:16-cv-08697-FMO-PVC     Document 636     Filed 04/02/25    Page 1 of 3 Page ID
                                         #:28709



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21
22    UNITED STATES OF AMERICA ex                 Case No. 2:16-cv-08697-FMO-PVCx
      rel. BENJAMIN POEHLING,
23                                                PLAINTIFF’S NOTICE OF MOTION
                  Plaintiffs,                     AND MOTION FOR REVIEW OF
24                                                SPECIAL MASTER’S REPORT AND
                         v.                       RECOMMENDATION
25
      UNITEDHEALTH GROUP, INC., et                Hearing Date:       June 5, 2025
26    al.,                                        Hearing Time:       10:00 a.m.
                                                  Ctrm:               350 W. First Street St.
27                Defendants.                                         Crtrm 6D, Los Angeles,
                                                                      CA 90012
28                                                Hon.                Fernando M. Olguin
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1                    NOTICE OF MOTION AND MOTION FOR REVIEW
2           PLEASE TAKE NOTICE that, on June 5, 2025 at 10:00 a.m., or as soon
3     thereafter as the matter may be heard, Plaintiff United States of America will, and hereby
4     does, move this Court for review of the Special Master’s Report and Recommendation
5     (ECF No. 631). This motion will be made in the First Street Federal Courthouse before
6     the Honorable Fernando Olguin, United States District Judge, located at 350 W. 1st
7     Street, Los Angeles, CA 90012.
8           Plaintiff’s motion is made pursuant to Federal Rule of Civil Procedure 53(f) and is
9     made upon this Notice, the attached Memorandum of Points and Authorities, the Joint
10    Brief on Summary Judgment, the Supplemental Brief of the United States of America,
11    the Statements of Undisputed Facts and Opposition thereto, and the Combined
12    Evidentiary Appendix, and all pleadings, records, and other documents on file with the
13    Court in this action, and upon such oral argument as may be presented at the hearing of
14    this motion.
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1      Dated: April 2, 2025           Respectfully submitted,
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